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                                         Case 22-05429                  Doc 47        Filed 10/31/22 Entered 10/31/22 13:27:28                               Desc Main
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                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                          ASSET CASES
Case No:              22-05429                         JSB               Judge:        Janet S. Baer                              Trustee Name:                      Frank J. Kokoszka, Trustee
Case Name:            Brightleaf Homes LLC                                                                                        Date Filed (f) or Converted (c):   05/11/2022 (f)
                                                                                                                                  341(a) Meeting Date:               06/13/2022
For Period Ending:    09/30/2022                                                                                                  Claims Bar Date:                   09/15/2022


                                   1                                                  2                           3                            4                          5                             6

                         Asset Description                                          Petition/               Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                             Unscheduled           (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                                    Values               Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                             Exemptions,                                                                              Assets
                                                                                                           and Other Costs)

  1. Cash on Hand                                                                               74.00                    74.00                                                        0.00                         FA
  2. Hinsdale Bank & Trust Company, N.A. Business checking                                       0.00                      0.00                                                       0.00                         FA
     2000
  3. Security deposit for office lease at 15 Spinning Wheel Rd.,                            3,048.38                       0.00                                                       0.00                         FA
     Hinsdale, IL 60521
  4. Retainer with attorney Jonathan Weis, Levin Ginsburg                                   2,450.00                    102.25                                                        0.00                      102.25

     Trustee is expecting a refund of the unused portion of the
     retainer
  5. Retainer with Mastrodonato and Associates (tax advisor)                                4,000.00                   4,000.00                                                       0.00                   4,000.00

     Trustee is investigating
  6. 90 days old or less: 21,855.00 - 0.00 =                                               21,855.00                  21,855.00                                                       0.00                  21,855.00
  7. Over 90 days old: 2,400.00 - 0.00 =                                                    2,400.00                   2,400.00                                                       0.00                   2,400.00
  8. Grossdale Properties LLC, owned through BrightLeaf Homes                              Unknown                    50,000.00                                                       0.00                  50,000.00
     Rossetti Series LLC 25%

     Trustee and his counsel are investigating this asset.
     Trustee value is an estiamte only and not to be used for any
     settlement or litigation purposes.
  9. 14 office chairs; 13 office stools; 17 computer monitors; 7                           Unknown                         0.00                                                       0.00                         FA
     laptop computers; 5 desktop computers; 6 TV screens; 3
     office tables; 13 butcher block work stations; 14 office storage
     shelving units $0.00
 10. 2017 Toyota Rav 4 VIN: 2T3BFREV0HW594371 Unknown                                      17,503.00                   3,059.41                                               16,000.00                           0.00
     KBB trade-in

     Sold at Auction. See Court Order dated 7/8/2022 (Docket
     Entry # 18)
     Subject to secured lien
                                                                                                                                                                                                    Page:       2
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                                                                      INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                       ASSET CASES
Case No:             22-05429                         JSB             Judge:        Janet S. Baer                             Trustee Name:                      Frank J. Kokoszka, Trustee
Case Name:           Brightleaf Homes LLC                                                                                     Date Filed (f) or Converted (c):   05/11/2022 (f)
                                                                                                                              341(a) Meeting Date:               06/13/2022
For Period Ending:   09/30/2022                                                                                               Claims Bar Date:                   09/15/2022


                                  1                                                2                          3                            4                          5                             6

                         Asset Description                                       Petition/              Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled          (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                                 Values              Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                         Exemptions,                                                                              Assets
                                                                                                       and Other Costs)

 11. 2010 Toyota Tacoma Pickup Truck VIN:                                                9,421.00                 8,500.00                                                 8,500.00                           FA
     3TMMU4FN5AM021408 Unknown KBB trade-in

     Sold pursuant to Court Order dated July 8, 2022 (Docket Entry
     #19)
     Subject to Secured Lien
 12. 2012 BMW 535 VIN: WBAFU7C54CDU59167 Unknown KBB                                     9,141.00                 9,521.09                                                11,500.00                          0.00
     trade-in

     Sold at Auction. Court Order Dated 7/8/2022 (Docket Entry #
     18)
     Subject to Secured Claim of Hinsdale Bank in the amount of
     $1978.91.
 13. 15 Spinning Wheel Road LLC Location: 15 Spinning Wheel                                  0.00                      0.00                                                       0.00                        FA
     Rd., Hinsdale, IL 60521 Office lease
 14. Service mark for "Brightleaf" USPTO registraton 5,967,069                          Unknown                        1.00                                                       0.00                       1.00
     Unknown

     Trustee and his counsel are investigating this asset
 15. www.brightleafhomes.com;                                                           Unknown                        1.00                                                       0.00                       1.00
     www.mybrightleafhome.com;www.brightleafos.com;
     www.buildinwesternsprings.com;
     www.chicagocustombuilder.com;
     www.chicagocustomhomebuilder.com Unknown

     Trustee and his counsel are investigating this asset.
 16. Customer list $0.00                                                                Unknown                        0.00                                                       0.00                        FA
 17. Peleus Insurance Co. Professional liability & cyber insurance                           0.00                      0.00                                                       0.00                        FA
     Burns & Wilcox Ltd. (agent)
 18. Pekin Insurance Co. CGL, auto, workers comp, employers                                  0.00                      0.00                                                       0.00                        FA
     liability Zeiler Ins. Co. (agent)
 19. Overpayment of insurance premium (u)                                                    0.00                      7.33                                                       7.33                       0.00

     Check was discovered at Debtor's premises.
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                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
Case No:               22-05429                         JSB            Judge:        Janet S. Baer                              Trustee Name:                      Frank J. Kokoszka, Trustee
Case Name:             Brightleaf Homes LLC                                                                                     Date Filed (f) or Converted (c):   05/11/2022 (f)
                                                                                                                                341(a) Meeting Date:               06/13/2022
For Period Ending:     09/30/2022                                                                                               Claims Bar Date:                   09/15/2022


                                    1                                                2                          3                            4                          5                             6

                         Asset Description                                        Petition/               Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                           Unscheduled           (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                                  Values               Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                              Assets
                                                                                                         and Other Costs)

 20. Adversary Action agaisnt Capital One, N.A. (u)                                            0.00                 73,690.49                                                       0.00                    73,690.49

     Adversary Complaint # 22-00162 filed on 10/19/2022
 21. Potential Avoidance Actions (u)                                                           0.00                 50,000.00                                                       0.00                    50,000.00

     Trustee and his counsel are investigating potential avoidance
     actions, and has sent out demand letters to potential
     defendants.
     Trustee value is an estimate only and is not to be used for any
     settlement or litigation purposes


                                                                                                                                                                                 Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                      $69,892.38              $223,211.57                                                $36,007.33                    $202,049.74
                                                                                                                                                                                 (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

  Trustee has filed Motions to Sell Vehicles - Frank J. Kokoszka 6/28/2022
  Trustee has requested documents from the Debtor - Frank J. Kokoszka 6/28/2022




  Initial Projected Date of Final Report (TFR): 12/31/2024             Current Projected Date of Final Report (TFR): 12/31/2024

  Trustee Signature:       /s/ Frank J. Kokoszka, Trustee         Date: 10/31/2022
                           Frank J. Kokoszka, Trustee
                           19 South LaSalle Street
                           Ste 1201
                           Chicago, IL 60603-1419
                           312-443-9600
                           trustee@k-jlaw.com
                           (312)443-9600
                           trustee@k-jlaw.com
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 22-05429                                                                                             Trustee Name: Frank J. Kokoszka, Trustee
      Case Name: Brightleaf Homes LLC                                                                                       Bank Name: Axos Bank
                                                                                                                 Account Number/CD#: XXXXXX0534
                                                                                                                                          Checking
  Taxpayer ID No: XX-XXX3110                                                                              Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 09/30/2022                                                                            Separate Bond (if applicable):


       1                2                           3                                               4                                                     5                   6                     7

Transaction Date    Check or              Paid To / Received From                       Description of Transaction                Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                          ($)
   07/20/22            11       Marissa A. Tiburtini                      Sale of Assets                                           1129-000                $8,500.00                                 $8,500.00
                                2S511 Kiowa Dr.                           Sale of 2010 Toyota Tacoma to
                                Wheaton, IL 60189-5973                    Marissa Tiburtini pursuant to
                                                                          Court Order entered on July 8,
                                                                          2022 (Docket Entry #19).
   08/03/22                     Heath Industrial Auction Services, Inc.   Proceeds from Sale of Property                                                 $27,500.00                                $36,000.00
                                3551 Lakeview Drive
                                Algonquin, IL 60102                       Auction Sale of
                                                                          2017 Toyota Rav 4 and 2012
                                                                          BMW 5351
                                                                          Gross Receipts                             $27,500.00

                       10                                                 2017 Toyota Rav 4 VIN:                     $16,000.00    1129-000
                                                                          2T3BFREV0HW594371
                                                                          Unknown KBB trade-in
                       12                                                 2012 BMW 535 VIN:                          $11,500.00    1129-000
                                                                          WBAFU7C54CDU59167
                                                                          Unknown KBB trade-in
   08/05/22            19       Guardian Life Insurance Company of        Overpayment                                              1229-000                    $7.33                               $36,007.33
                                America                                   Check was discovered in mail
                                10 Hudson Yards                           left at Debtor's office
                                New York, NY 10001-2159
   08/19/22           2001      Hinsdale Bank & Trust                     Payment to Secured Creditor                              4210-000                                    $1,978.91           $34,028.42
                                9700 West Higgins Road                    Creditor's collateral was sold by
                                Suite 650                                 Trustee and payment of the
                                Rosemont                                  secured amount is necessary
                                                                          to obtain the vehicle title for the
                                                                          purchaser.
                                                                          Creditor filed a secured claim-
                                                                          Claim #17- for the payoff
                                                                          amount
   08/22/22           2002      Toyota Financial Services                 Payment to Secured Creditor                              4210-000                                   $12,940.59           $21,087.83
                                P.O. Box 5855                             Payoff of secured lien on auto
                                Caril Stream, IL 60197                    sold at auction pursuant to
                                                                          Court Order.
                                                                          Payoff for 2017 Toyota RAV 4,
                                                                          VIN: 2T3BFREV0HW594371
   09/01/22                     Axos Bank                                 Bank Service Fee under 11                                2600-000                                        $36.73          $21,051.10
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)

                                                                                  Page Subtotals:                                                        $36,007.33           $14,956.23
                                                                                                          Page:   2
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                                             COLUMN TOTALS                      $36,007.33   $14,956.23
                                                   Less: Bank Transfers/CD's        $0.00        $0.00
                                             Subtotal                           $36,007.33   $14,956.23
                                                   Less: Payments to Debtors        $0.00        $0.00
                                             Net                                $36,007.33   $14,956.23




                           Page Subtotals:                                          $0.00        $0.00
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                                                                                                 TOTAL OF ALL ACCOUNTS
                                                                                                                                                  NET            ACCOUNT
                                                                                                               NET DEPOSITS       DISBURSEMENTS                   BALANCE
                                                      XXXXXX0534 - Checking                                        $36,007.33               $14,956.23           $21,051.10
                                                                                                                   $36,007.33               $14,956.23           $21,051.10

                                                                                                             (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                     transfers)            to debtors)
                                                      Total Allocation Receipts:                    $0.00
                                                      Total Net Deposits:                       $36,007.33
                                                      Total Gross Receipts:                     $36,007.33



Trustee Signature:   /s/ Frank J. Kokoszka, Trustee      Date: 10/31/2022

                     Frank J. Kokoszka, Trustee
                     19 South LaSalle Street
                     Ste 1201
                     Chicago, IL 60603-1419
                     312-443-9600
                     trustee@k-jlaw.com
                     (312)443-9600
                     trustee@k-jlaw.com




                                                                              Page Subtotals:                                       $0.00                $0.00
